Case 2:05-cr-20024-.]Pl\/| Document 14 Filed 06/03/05 Page 1 of 6 Page|D 17

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W.D, GF “i`r‘!, ;y‘;&l!r.f`fl-HS
-v- 2:050R20024-01-Ml

MOHAMAD |BRAHIM
Russell X. Thomgson, Retained
Defense Attorney
5100 Poplar Avenue, #2700
Memphis, TN 38137

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on February 1, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section Ms_e Offense Number(s)
Concluded
18 U.S.C. § 922(g) Fe|on in Possession of a Firearm 03/31/2004 1

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 04/29/1960 June 2, 2005
Deft’s U.S. l\/larshal No.: 412318815

Defendant’s |Vlailing Address:
8024 Cedar i_ake Grove

Germantown, TN 38138 QW\Q W COL/QJC
Jo PH|PPs r\/iccALl_A
uN Eo s TEs oisTRicT JuooE

June 02 , 2005

This document entered on the docket sheet in compli nce
With Rule 55 and/or 32(b) FHCrP on ' ’

 

Case 2:05-cr-20024-.]Pl\/| Document 14 Filed 06/03/05 Page 2 of 6 Page|D 18

Case No: 2:050R20024-01-M| Defendant Name: lvlohamad lBRAH||V| F'age 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 8 Months.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States lvlarsha|.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UNlTED STATES |VlARSl-lAL
By:

 

Deputy U.S. l\/|arsha|

Case 2:05-cr-20024-.]Pl\/| Document 14 Filed 06/03/05 Page 3 of 6 PagelD 19

Case No: 2:05CR20024-01-Nll Defendant Name: l\/lohamad lBRAH||Vl Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianr and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:05-cr-20024-.]Pl\/| Document 14 Filed 06/03/05 Page 4 of 6 PagelD 20

Case No: 2:050R20024-01-N|| Defendant Name: Mohamad lBRAHll\/l Page 4 of 5
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release;

1. The defendant shall not engage in any kind on gambling orfrequent any casino.

2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment1 pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $3,000.00

The Special Assessment shall be due immediately
FlNE
A $3,000.00 fine was imposed
REST|TUTION

No Restitution was ordered.

Case 2:05-cr-20024-.]Pl\/| Document 14 Filed 06/03/05 Page 5 of 6 PagelD 21

Case No: 2:05CR20024-01-Ml Defendant Name: lVlohamad lBRAHll\/l Page 5 of 5

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay fine in regular monthly installments of not less than 5% of
gross monthly income. Additionally, the interest requirement is waived.

Unless the court has expressly ordered othenrvise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penaltiesl except those payments made through the
Federal Bureau of Prisons’ lnmate Financial Responsibility Program, are made to the clerk of the
court, unless othen/vise directed by the court, the probation ofticer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

UNlTED S`…ATEISTIC COUR -WESTER DSTRIC oFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20024 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Russell X. Thompson

LAW OFFICE OF RUSSELL X. THOi\/[PSON
5100 Poplar Ave.

Ste. 2700

i\/lemphis7 TN 38137

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

